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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL ACTION

VERSUS                                                 NO. 19-197

KHALID AHMED SATARY                                    SECTION D (4)

                        AMENDED SCHEDULING ORDER

        Before the Court is the parties’ Joint Motion to Adjust Certain Pretrial

Deadlines (R. Doc. 284). The Motion is GRANTED AS MODIFIED. The Court

amends the Scheduling Order as follows:

                                    DISCOVERY

   •    Informal letter discovery/reciprocal discovery has been conducted in

        accordance with Rule 16 of the Federal Rules of Criminal Procedure and

        LCrR12. The parties have been engaging in discovery. A discovery protocol is in

        place (R. Doc. 148). Reciprocal discovery shall be produced by July 11, 2022.

               BRADY, JENCKS ACT, AND GIGLIO MATERIALS

   •    The government is aware of its continuing obligation to produce exculpatory

        material under Brady v. Maryland and Giglio v. United States and their

        progeny and will discharge this obligation. The government will continue to

        provide any materials that are discoverable under Brady and Giglio. However,

        materials or information which might constitute material producible under the

        Jencks Act and Federal Rule of Criminal Procedure 26.2, will be produced

        thirty days prior to trial. Since the trial date is presently set for August 1,

        2022, Jencks materials shall be produced on or before April 1, 2022. The
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     parties may agree to provide materials at an earlier date to facilitate the

     expeditious presentation of evidence.

                             MOTIONS IN LIMINE

•    Each party may file one motion in limine addressing objections to exhibits,

     which must be filed no later than July 5, 2022, with oppositions due by July

     12, 2022. There shall be no reply briefs. The motions will be deemed submitted

     on July 12, 2022, regardless of any submission date provided by the Clerk of

     Court upon filing of the motion.

                              EXPERT WITNESSES

•    Motions to strike experts pursuant to Daubert and its progeny shall be due on

     May 13, 2022, and any responses thereto by May 23, 2022. Motions to Strike

     Experts will be deemed submitted on May 23, 2022 regardless of any

     submission date issued by the Clerk of Court upon filing of the motion.

                     CERTIFICATIONS/STIPULATIONS

•    To facilitate judicial economy through a speedy trial and to eliminate

     unnecessary and time-consuming testimony, where authenticity and technical

     predicates are not at issue, the United States will submit proposed Rule 901

     certifications as well as proposed stipulations relating to the authenticity of its

     evidence no later than July 18, 2022. The certifications will encompass the

     authenticity and reliability of e-mails, text messages, recordings and

     business/public records. Stipulations may be related to any matter. The

     defense will review the proposed certifications and stipulations and propose

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         any changes with agreement on the final certifications and stipulations to be

         completed and filed no later than July 25, 2022. The United States will

         likewise act accordingly with any certifications or stipulations proposed by the

         defense under the same timetable as set out above. The Parties are encouraged

         to work together towards resolving differences regarding certifications and

         stipulations.

                                       EXHIBIT LISTS

    •    The government’s proposed exhibit list along with the exhibits themselves as

         set out above, is to be submitted to the defense by June 1, 2022. Should

         additional exhibits be identified by the government for use at trial, the

         government will supplement its exhibit list and provide those exhibits to the

         defendant immediately. 1 The defense shall provide their exhibit list on or

         before the close of the government’s case. However, the defense shall provide a

         preliminary list of exhibits along with the exhibits themselves by July 1,

         2022. 2 Objections to any proposed exhibits shall be filed in accord with the

         motion in limine deadline set forth in this Amended Scheduling Order.

                                       WITNESS LISTS

    •    The government shall call witness lists shall be filed no later than June 1,

         2022. The list will designate whether or not the witness will be providing




1 The Government should be prepared to advise the Court of the basis for the late disclosures of any
exhibits.
2 See footnote 2.

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     “character or reputation” testimony. The defense's proposed witness list shall

     be filed no later than July 1, 2022.

                             JURY INSTRUCTIONS

•    The parties are required to meet and confer to submit Proposed Joint Jury

     Instructions which shall be submitted to the Court by email at efile-

     vitter@laed.uscourts.gov no later than July 7, 2022. This shall be filed jointly.

     Reference to specific Fifth Circuit Pattern Instructions is appropriate; the

     content of Pattern Instructions need not and should not be included. Objections

     to any jury instruction should be noted by footnote, noting the specific

     objection.

                      PRETRIAL CONFERENCE AND TRIAL

•    The pretrial conference is set for July 7, 2022 at 9:00 a.m.

•    Trial in this matter shall commence on August 1, 2022 at 9:00 a.m.

                   MODIFICATIONS TO SCHEDULING ORDER

•    All deadlines remain the same unless modified by the Court for good cause

     shown. Should the trial date be moved for any reason, the Court will hold a

     status conference for the purpose of rescheduling any deadlines that have not

     already passed. Deadlines are not automatically extended.

     New Orleans, Louisiana, May 5, 2022.



                                      ______________________________________
                                      WENDY B. VITTER
                                      UNITED STATES DISTRICT JUDGE

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